977 F.2d 582
    142 L.R.R.M. (BNA) 2384
    NOTICE: Sixth Circuit Rule 24(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Sixth Circuit.NATIONAL LABOR RELATIONS BOARD, Petitioner,v.COLEMAN, AKERS AND AKERS CONSTRUCTION COMPANY, Respondent.
    No. 92-5959.
    United States Court of Appeals, Sixth Circuit.
    Sept. 30, 1992.
    
      Before KEITH, NELSON, and RYAN, Circuit Judges.
    
    
      1
      This Court having on April 4, 1991, entered its judgment enforcing in full the backpay provision of the Order of the National Labor Relations Board, the Board, on March 27, 1992, issued its Decision and Order fixing the amount of backpay due the discriminatees and having thereafter applied to this Court for summary entry of a supplemental judgment specifying the amount of backpay due:
    
    
      2
      IT IS HEREBY ORDERED AND ADJUDGED by the Court that Respondent, Coleman, Akers and Akers Construction Company, Lexington, Kentucky, its officers, agents, successors, and assigns, shall make whole the individuals named below, by paying them the amounts following their names, with interest to be computed in the manner prescribed in  New Horizons for the Retarded, 283 NLRB 1173 (1987), minus tax withholdings required by Federal and state laws.
    
    Terry Coleman   $3,450.00
    Floyd Reynolds     392.00
    